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                                                         HONORABLE RICHARD A. JONES
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                             UNITED STATES DISTRICT COURT
 9                  FOR THE WESTERN DISTRICT OF WASHINGTON
10                                     AT SEATTLE
     __________________________________________
11                                              )
                                                )
12   WILD FISH CONSERVANCY,                     )  Case No. 2:20-cv-417-RAJ-MLP
13                                              )
                 Plaintiff,                     )  DEFENDANTS’ RESPONSE TO
14                                              )  PLAINTIFF’S OBJECTIONS TO
           v.                                   )  REPORT AND
15                                              )  RECOMMENDATION
16   SCOTT RUMSEY, et al.,                      )
                                                )
17               Defendants,                    )
                                                )
18
           and                                  )
19                                              )
     ALASKA TROLLERS ASSOCIATION,               )
20                                              )
                 Defendant-Intervenor,          )
21
                                                )
22         and                                  )
                                                )
23   STATE OF ALASKA,                           )
24                                              )
                 Defendant-Intervenor.          )
25   __________________________________________)
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27
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     Defendants’ Response to Plaintiff’s Objections to          U.S. Department of Justice
     Report and Recommendation                                  P.O. Box 7611
                                                                Washington, D.C. 20044
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 1                                           TABLE OF ACRONYMS
 2   BiOp             Biological Opinion
 3   ESA              Endangered Species Act
 4   NEPA             National Environmental Policy Act
 5   NFH              National Fish Hatchery
 6   NMFS             National Marine Fisheries Service
 7   pHOS             Proportion of Hatchery-Origin Spawners
 8   PNI              Proportionate Natural Influence
 9   pNOB             Proportion of Natural-Origin Broodstock
10   SEAK             Southeast Alaska
11   SRKW             Southern Resident Killer Whales
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 1                                                INTRODUCTION
 2           In this case, Plaintiff has insisted that a central part of its organizational mission is to
 3   ensure the well-being of Southern Resident Killer Whales (SKRW). Dkt. # 91-6 ¶¶ 6, 8-10.
 4   Nevertheless, Plaintiff has asked the Court to shut down a National Marine Fisheries Service
 5   (NMFS) prey increase program that is aimed squarely at supplementing the SRKW food supply.
 6   Dkt. # 127 at 10. The Report and Recommendation recognized the environmental harm that will
 7   flow to endangered SRKW if the parts of NMFS’s 2019 Biological Opinion (BiOp) pertaining
 8   to the prey increase program are vacated or if that program is permanently enjoined. Dkt. # 144
 9   at 30-34. Accordingly, the Report and Recommendation properly recommends that these two
10   forms of remedy not be granted. Id. at 37.
11           Plaintiff has lodged objections to those recommendations and asks the Court to reject
12   them. Dkt. # 151 at 15. But even putting aside the continued inconsistency between Plaintiff’s
13   purported mission and its request to shut down the prey increase program, Plaintiff’s objections
14   to the Report and Recommendation suffer from at least two flaws. First, Plaintiff fundamentally
15   misunderstands NMFS’s site-specific analysis of those hatcheries that have received funds as
16   part of the prey increase program. Id. at 10-11. Contrary to Plaintiff’s assertions, NMFS has
17   analyzed each site-specific disbursement to ensure compliance with both the Endangered
18   Species Act (ESA) and National Environmental Policy Act (NEPA). Dkt. # 133-3 (Third
19   Purcell Decl.) ¶ 5. Thus, NMFS has and will continue “to limit any potential negative impacts”
20   to wild salmon. Dkt. # 144 at 35.
21           Second, Plaintiff muddies the waters regarding the benefits of the prey increase
22   program. Plaintiff contends that there is no evidence “demonstrating that the prey increase
23   program will provide a net benefit to SRKWs.” Dkt. # 151 at 11. But as the Report and
24   Recommendation stated, “[h]atchery produced Chinook salmon benefit the SRKW as they
25   support such needed prey availability and contribute to the salmon stocks consumed by the
26   SRKW.” Dkt. # 144 at 31. The equation is straightforward: more fish in the right places and at
27   the right times will meaningfully increase prey availability.
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 1           In the face of these foundational flaws, Plaintiff’s arguments about vacatur and
 2   injunctive relief collapse. See Dkt. # 151 at 13-14. The disruptive consequences of vacating the
 3   prey increase program—namely significant harm to SRKW—outweighs the errors, even if they
 4   are not minor. Further, Plaintiff has not come close to showing irreparable harm to wild salmon
 5   as a result of the continued implementation of the program. In fact, NMFS has taken steps to
 6   ensure that any adverse effects of hatchery salmon are considered in site-specific analyses.
 7           For these reasons, the Court should affirm and approve the parts of the Report and
 8   Recommendation that address the prey increase program, which will continue to provide a
 9   much-needed supplement to the SRKW food supply.
10                                                   ARGUMENT
11   I.      Plaintiff’s Challenges to the Findings Are Misplaced.
12           Plaintiff raises objections to three aspects of the Report and Recommendation’s findings
13   on the prey increase program: the impact to salmonids; the site-specific reviews of hatchery
14   production; and the impact to SRKW. Id. at 8-11. Defendants’ response will first describe the
15   ongoing site-specific reviews because those reviews help ensure that the potential impacts to
16   salmonids are evaluated and minimized.
17        A. NMFS Is Conducting Site-Specific Reviews for Each Disbursement.
18           As an initial matter, it is important to place NMFS’s site-specific review in context.
19   NMFS has established a set of criteria for choosing the hatcheries that receive funding through
20   the prey increase program. Those criteria include a requirement that none of the additional
21   production can jeopardize the survival and recovery of any ESA-listed species, including
22   salmon and steelhead, and a requirement that all hatchery production be reviewed under the
23   ESA and NEPA before funding can be utilized. Dkt. # 93-4 (Second Purcell Decl.) ¶ 8; Third
24   Purcell Decl. ¶ 4. Pursuant to these criteria, NMFS has analyzed each disbursement to ensure
25   compliance with the ESA and NEPA. See Third Purcell Decl. ¶ 5. This analysis takes different
26   forms depending on the type of ESA and NEPA analysis that has already been completed for
27   each hatchery. In some cases, the effects of an increase in production at the selected hatchery
28   has been fully evaluated in previously completed ESA and NEPA documents because either the

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 1   prior analysis considered a range of production and the increase falls within that range, or the
 2   hatchery has reduced production following the original reviews and thus the increase falls
 3   within the bounds of the previous analysis. Id. In other cases, NMFS has supplemented previous
 4   analysis and/or reinitiated consultation. Id. To be clear, in all the scenarios, NMFS staff has
 5   conducted a site-specific analysis to ensure that the increased production at each facility fully
 6   complies with the ESA and NEPA.
 7           Plaintiff’s misstatements regarding the site-specific analyses severely undercut its
 8   arguments for vacatur and injunctive relief. According to Plaintiff, NMFS has determined that
 9   some disbursements do not require any ESA or NEPA review. Dkt. # 151 at 10. This appears to
10   be a reference to the chart in the Second Purcell Declaration, which included some boxes with
11   “N/A” in the ESA and NEPA columns. Second Purcell Decl. at 189-190 (Att. C). Plaintiff fails
12   to mention that those entries relate to money that was to be spent on either overhead or marking
13   trailers, which are pieces of equipment used to mark hatchery fish to distinguish them from wild
14   fish. Id. Both of these items have already been considered as part of the ESA and NEPA
15   analyses for the operation of the hatcheries themselves, thus removing the need for any
16   additional ESA or NEPA compliance. Plaintiff also mistakenly assigns significance to the
17   government’s statement that NEPA may not be triggered. Dkt. # 151 at 10. While NMFS made
18   that argument for the funding program, that is distinct from whether NMFS has ensured NEPA
19   compliance for the site-specific hatchery programs receiving funds.
20           Next, Plaintiff suggests that “a BiOp” on production at the Little White Salmon National
21   Fish Hatchery (NFH), Carson NFH, Spring Creek NFH, and Dworshak NFH “does not evaluate
22   increased production under the prey increase program.” Id. First, Plaintiff has the facts wrong—
23   NMFS completed its BiOp on the first three NFHs in 2007 but completed the BiOp on the
24   Dworshak NFH in 2017. See Third Purcell Decl. at 26 (Att. 2) (referring to Att. 2a for the first
25   three and Att. 2b for Dworshak). In addition, before disbursing prey increase program funding
26   for each of these four NFHs, NMFS reviewed the existing BiOps to determine whether they
27   fully evaluated the potential effects of increased production on ESA-listed species. Thus, NMFS
28   was not simply relying on the 2007 and 2017 BiOps, but rather assessing anew whether the

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 1   increase in production would trigger reinitiation of ESA consultation per 50 C.F.R. § 402.16.
 2   For example, in 2022, NMFS funded the release of 2 million smolts from the Spring Creek
 3   NFH. Third Purcell Decl. at 22 (Att. 1). Combined with the existing 10.5 million currently
 4   produced by the NFH, this was less than the 15.1 million that was evaluated in the 2007 BiOp.
 5   Id. at 51 (Att. 2a).
 6           In addition to mischaracterizing the salience and scope of the site-specific analyses,
 7   Plaintiff erroneously suggests that NMFS “cannot cure a failure to consult at the programmatic
 8   level” through site-specific analyses. Dkt. # 151 at 10. But this statement ignores the fact that
 9   NMFS has considered the aggregate effects as part of its site-specific analyses. See Third
10   Purcell Decl. ¶ 7 (“[W]e consider the cumulative impacts of all other hatchery programs that
11   may be contributing to [proportion of hatchery-origin spawners (pHOS)] for a particular
12   population.”); id. at 992-99 (Att. 2e). Moreover, the site-specific analyses that have occurred
13   and will continue to occur will help ensure ESA and NEPA compliance while the new
14   programmatic analysis is completed.
15           In sum, the Report and Recommendation correctly relied upon NMFS’s site-specific
16   analyses to support its conclusion that the prey program should continue during the remand.
17       B. Plaintiff Fails to Show that the Prey Increase Program Will Harm Salmonids.
18           Plaintiff contends that the continuation of the prey increase program will increase
19   pHOS, which in turn will harm threatened Chinook salmon. Dkt. # 151 at 8-10. This assertion is
20   misguided and ignores NMFS’s consideration of this exact issue in the site-specific analyses
21   described above.
22           Plaintiff relies here on Dr. Luikart’s First and Third Declarations, but those assessments
23   fail to grapple with the nuances of the prey increase program. In his First Declaration, Dr.
24   Luikart’s calculation for pHOS in the Lower Columbia River tributaries incorrectly assumed
25   that all the adult fish returning to the Columbia River basin would return to a small number of
26   tributaries in one area. Second Purcell Decl. ¶ 18. “In fact, the prey increase program is
27   designed to augment a portfolio of stocks that are important to SRKW, so by design it is much
28   broader in geographical span.” Id. More fundamentally, Dr. Luikart’s analysis is oversimplified.

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 1   Though hatchery-origin fish can pose a risk, “[o]ptimal pHOS will depend upon multiple
 2   factors, such as the importance of the population to ESA recovery and the fitness differences
 3   between hatchery-origin and natural-origin fish.” Third Purcell Decl. ¶ 7. Thus, as NMFS has
 4   engaged in its site-specific ESA evaluations, it has considered: where the fish are being
 5   released; the origin of the broodstock being used by the hatchery program; how many wild fish
 6   are incorporated into the broodstock; whether surplus hatchery fish will be removed at weirs to
 7   control pHOS; and the role of the affected populations in the recovery of an evolutionarily
 8   significant unit. Id. ¶ 8; see id. ¶ 7 (“NMFS considers these [multiple] factors in its site-specific
 9   ESA evaluations.”). It appears that Dr. Luikart has not reviewed these analyses by NMFS, and
10   thus his generalized statements about harm to salmon miss the mark.
11           NMFS has also been working with the hatchery operators to implement tools that allow
12   it to increase prey for SRKW while simultaneously reducing genetic risks to ESA-listed salmon.
13   Second Purcell Decl. ¶ 19. For example, during development of a BiOp on hatchery programs in
14   the Green/Duwamish River Basins, NMFS “worked with the hatchery operators to implement
15   some key changes in the fall Chinook hatchery program” that the agency expects will
16   substantially increase proportionate natural influence.1 Id. Those changes included the creation
17   of an area focused on natural production, where only natural-origin fish are passed above the
18   weir, and hatchery-origin fish are removed at collection facilities when abundance reaches a
19   certain level. Id.
20           The Report and Recommendation properly concluded that risks from hatchery-origin
21   fish “can be mitigated to limit any potential negative impacts.” Dkt. # 144 at 35.
22       C. Plaintiff Fails to Recognize that the Prey Program Provides a Meaningful Increase
23          in Food.

24           Contrary to Plaintiff’s assertions, the Report and Recommendation also properly
25   concluded that a disruption to the prey increase program would harm SRKW. See Dkt. # 151 at
26   11-12. Plaintiff begins its attack on this part of the Report and Recommendation with what
27
28   1
      A population’s proportionate natural influence (PNI) is determined based on pHOS and the proportion of natural-
     origin fish incorporated into the broodstock (pNOB).

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 1   appears to be a self-defeating statement—Plaintiff contends that the declarations of Allyson
 2   Purcell and Lynne Barre “do not provide analyses on how the proposed hatchery increases
 3   actually increase prey availability for SRKWs.” Id. (emphasis added). In any event, the
 4   declarations clearly show that an increase in fish from the hatcheries funded by the program will
 5   result in more prey. Indeed, SRKW “do not distinguish between hatchery produced or wild
 6   fish,” and, based on implementation records, the prey increase program is “on track” to provide
 7   the “meaningful increase in prey.” Dkt. # 133-2 (Third Barre Decl.) ¶ 11; Third Purcell Decl. ¶
 8   3.
 9           Plaintiff changes course in the next paragraph when it asserts that the Purcell and Barre
10   declarations do not provide an analysis of the “net result on prey availability.” Dkt. # 151 at 11.
11   It is not clear what Plaintiff intends with the addition of the word “net,” but to the extent that it
12   refers to a comparison or balancing of the benefit to SRKW and the harm to Chinook salmon,
13   Plaintiff misses the mark because it continues to underestimate the benefits to SRKW, which
14   are tangible, and to overestimate the harm to Chinook salmon, which is being mitigated.
15   II.     Plaintiff Errs in Its Attempt to Tip the Scales in Favor of Vacatur.
16           The Report and Recommendation correctly determined that the disruptive consequences
17   of vacating those parts of the BiOp related to the prey increase program outweigh the
18   seriousness of the errors. Dkt. # 144 at 37. In particular, the Report and Recommendation
19   reasoned that remand without vacatur is warranted “given the serious and certain risk to prey
20   abundance and availability that would result to the SRKW.” Id. Plaintiff’s attempt to dispute
21   that conclusion is based on the erroneous arguments discussed above, and therefore should be
22   rejected. See Dkt. # 151 at 13-14 (citing Sections III.A.1. – III.A.3). Plaintiff’s argument also
23   rests on the flawed assertion that the errors by NMFS are “exceedingly serious.” Id. at 13. The
24   implementation of the prey increase program as anticipated obviates an “error” that was
25   identified in the 2019 BiOp (i.e., lack of certainty). See Dkt. # 149 at 2-3.
26           Plaintiff also paints a distorted picture of the application of NEPA to the prey increase
27   program. Dkt. # 151 at 14. Plaintiff contends that allowing the program to continue during
28   remand would “vitiate” NEPA because “NEPA requires review . . . before a decision is made to

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 1   implement the project.” Id. But the record shows that the site-specific analyses include
 2   determinations under NEPA for each facility, and thus implementation at the hatchery level is
 3   consistent with NEPA. Further, Plaintiff’s endeavor to analogize this case to others involving
 4   NEPA is misplaced because every decision regarding vacatur depends on the particular errors
 5   and disruptive consequences. For example, in Metcalf v. Daley, 214 F.3d 1135, 1146 (9th Cir.
 6   2000), the court’s decision to vacate was based in part on the fact that “[u]nlike many of the
 7   disputes we are called on to resolve, time here is not of the essence.” Here, by contrast, time is
 8   of the essence because there is no dispute that prey availability is a priority for SRKW. Also,
 9   numerous courts have chosen to remand without vacatur agency actions under the ESA where
10   vacatur would harm species. See Nat’l Wildlife Fed. v. NMFS, 839 F. Supp. 2d 1117, 1129 (D.
11   Or. 2011) (holding that “equity can authorize the district court to keep an invalid [action] in
12   place during any remand if it provides protection for listed species within the meaning of the
13   ESA.”); Inst. for Fisheries Res. v. U.S. Food & Drug Admin., 499 F. Supp. 3d 657, 670 (N.D.
14   Cal. 2020) (“revoking the approval would presumably require the current stock of salmon to be
15   destroyed, a significant loss of property and animal life that would be wasteful given the real
16   possibility that the [agency] will be able to cure the NEPA and ESA errors on remand”); Nat.
17   Res. Def. Council, Inc. v. U.S. Dep’t of Interior, 275 F. Supp. 2d 1136, 1146 (C.D. Cal. 2002)
18   (“The strong public policy in favor of environmental protection indicates that the Court should
19   resolve uncertainties in estimating the risk of harm from habitat conversion during remand, in
20   the absence of viable critical habitat designations, in favor of retaining the disputed rules.”).
21           As the Report and Recommendation aptly noted, a “disruption to the prey increase
22   program, or its funding, thus appears primed to result in gaps in prey abundance that would lead
23   to increased risk to the health of the SRKW and threaten any future operation of the program.”
24   Dkt. # 144 at 31-32. Thus, the Court should decline Plaintiff’s invitation to vacate those parts of
25   the BiOp that pertain to the timely and essential prey increase program.
26   III.    Plaintiff’s Recycled Assertions About Injunction Fail.
27           Plaintiff’s final contention is a renewed request for the “extraordinary remedy” of
28   permanent injunctive relief shutting down the prey increase program. Monsanto v. Geerston

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 1   Seed Farms, 561 U.S. 139, 165 (2010); see Dkt. # 151 at 15-17. This argument sinks when the
 2   well-established standard for an injunction is applied.
 3           To obtain a permanent injunction, a plaintiff must demonstrate: “(1) that it has suffered
 4   an irreparable injury; (2) that remedies available at law, such as monetary damages, are
 5   inadequate to compensate for that injury; (3) that, considering the balance of hardships between
 6   the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public interest
 7   would not be disserved by a permanent injunction.” Monsanto, 561 U.S. at 156-57. Plaintiff’s
 8   primary argument for irreparable injury is that the prey increase program “will likely further
 9   increase pHOS levels and thereby further inhibit the prospects for the continued survival, much
10   less recovery.” Dkt. # 151 at 16. But a likelihood of harm is the standard for a preliminary
11   injunction, not a permanent injunction. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22
12   (2008) (“Our frequently reiterated standard requires plaintiffs seeking preliminary relief to
13   demonstrate that irreparable injury is likely in the absence of an injunction.”). The fact is that
14   Plaintiff has not shown irreparable harm. Plaintiff’s generalized assertions of harm to wild fish
15   are wholly inadequate. Also, Plaintiff’s conclusory statements about a failure to conduct NEPA
16   and public policy are insufficient to show how Plaintiff has been injured and why it is
17   irreparable. Lastly, Plaintiff continues to overlook the site-specific analyses that have occurred.
18   See supra.
19                                                  CONCLUSION
20           For these reasons, Defendants respectfully submit that the Court should affirm and
21   approve the parts of the Report and Recommendation that address the prey increase program.
22
23   Dated: January 24, 2023                             Respectfully submitted,
24
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                                          CERTIFICATE OF SERVICE
 1
 2           I hereby certify that on January 24, 2023, I electronically filed the foregoing with the
 3   Clerk of the Court for the United States District Court for the Western District of Washington
 4   by using the CM/ECF system, which will serve a copy of the same on the counsel of record.
 5
 6                                                       /s/ Frederick H. Turner
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 8
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     Defendants’ Response to Plaintiff’s Objections to                        U.S. Department of Justice
     Report and Recommendation                                                P.O. Box 7611
                                                                              Washington, D.C. 20044
     Case No. 2:20-CV-417-RAJ-MLP                        10                   (202) 305-0641
